                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )      Case No. DNCW3:09CR211-3
                vs.                                 )      (Financial Litigation Unit)
                                                    )
MITCHELL KEITH KLEINMAN.                            )

                                      WRIT OF EXECUTION

TO BELLAGIO:

         A judgment was entered on January 12, 2011, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, Mitchell Keith Kleinman, whose last known address is XXXXXXXXXXXXXXX,

Newport Beach, CA, 92660, in the sum of $2,202,079.40. The balance on the account as of July 11,

2011, is $2,118,959.52.

         THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Bellagio is commanded to turn over property in which the defendant, Mitchell Keith

Kleinman, has a substantial nonexempt interest, the said property being funds located in Bellagio

accounts including, but not limited to, account number XXXXXXX, in the name of Mitchell Keith

Kleinman, at the following address: Bellagio, 3600 Las Vegas Boulevard South, Las Vegas, NV

89109.

                                                Signed: August 9, 2011




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